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               Appendix 5
  Supplemental Declaration of Jim Messina,
       Signal Interactive Media, LLC


In re: Equifax Inc. Customer Data Security Breach Litigation,
              No. 17-md-2800-TWT (N.D. Ga.)



     Plaintiffs’ Motion for Final Approval of Settlement
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION




   In re: Equifax, Inc. Customer               MDL Docket No. 2800
   Data Security Breach Litigation             No. 1:17-md-2800-TWT

                                               This document relates to:

                                               CONSUMER CASES



          DECLARATION OF JIM MESSINA REGARDING
      IMPLEMENTATION OF COURT-ORDERED NOTICE PLAN

      1.    The purpose of this declaration is to provide a report to the Court

regarding administration of the Court-approved Notice Plan in this matter.

      2.    As of the Notice Date (September 20, 2019), the activities of the

Notice Provider have been executed in accordance with:

            - The Settlement Agreement and Release (Doc. # 739-2, including

                Exhibit 6, the Notice Plan)

            - Declaration of Jim Messina (Doc. # 739-5)

            - Order Directing Notice (Doc. # 742)




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      3.    I attest that the Notice Plan was executed in a manner that is consistent

with the guidelines issued by the Federal Judicial Center; the Manual for Complex

Litigation (4th. Ed.), and the “Duke Standards” relating to the means, format, and

contents of settlement notice. See Bloch Judicial Institute, Duke Law School,

Guidelines and Best Practices Implementing 2018 Amendments to Rule 23 Class

Action Settlement Provisions (August 2018).

      4.    As a practical matter, the Court-approved approach to Notice reflects

contemporary best practices in the field of consumer outreach, notice, and

advertising across contemporary digital and traditional media and constituted the

best practicable notice under the circumstances.

      5.    Using contemporary best practices in media—the same approaches

used in large-scale commercial and political advertising—the parties and Court

have achieved extraordinarily high awareness and participation in this matter. Our

overriding principle when crafting and executing this plan was to ensure that all

messages are tested, re-tested, and refined and targeted effectively for maximum

engagement and measurement.

                              Foundation of Declaration

      6.    As shared in my prior declaration, I am a co-founder of Signal

Interactive Media, LLC (“Signal”), the Court-appointed Notice Provider in


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connection with the proposed settlement in this case. I make this Declaration

based upon my personal knowledge, information provided to me by my associates

and staff in the ordinary course of business, and information reasonably relied

upon by experts in the fields of advertising media and communications.

      7.       Signal has collaborated closely with JND, the Court-appointed

Settlement Administrator to date in this matter. The scope of this declaration is

limited to notice activities conducted by Signal and activities conducted in

conjunction with JND, such as email notice, and we anticipate that JND will

provide a corresponding declaration attesting to claims-related figures, processes,

and metrics.

                                  The Notice Date

      8.       For context, in its Order Directing Notice (Doc. # 742) the Court

established that the Notice Date was September 20, 2019, the Initial Claims Period

deadline is January 22, 2020, and the Extended Claims Period deadline is January

22, 2024.

      9.       As described on the following pages, the notice activities that have

been completed prior to the Notice Date were designed to meet and exceed all

requirements of Rule 23 and Constitutional Due Process. And, in fact, the Notice

Plan, as executed, met those requirements.


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      10.    The robust claims rate achieved as of the Notice Date evinces that

those requirements have been met by the Notice Date.

      11.    In order to supplement such notice efforts, Signal will continue to

administer notice activities throughout the Initial and Extended Claims Periods in

accordance with the Court-ordered Notice Plan.

            Notice Plan Activities Completed as of the Notice Date

      12.    The Notice Plan encompassed (a) individual direct notice via email

to all class members whose email addresses can be identified with reasonable

effort, as well as follow up emails during the Initial and Extended Claims Periods;

(b) a sophisticated digital notice campaign targeted to reach 90 percent of all class

members before the Notice Date and with additional impressions during the

remainder of the Initial Claims Period; (c) continuation of the digital campaign

during the Extended Claims Period and thereafter for approximately three years,

which among other things will target class members who search online for help

remedying identity theft; and (d) radio advertising and a paid advertisement in a

national newspaper to reach class members who are less likely to use email or the

Internet.




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                              Initial Testing Period

      13.     In accordance with the Court’s Order, Signal compiled a

demographic profile of the settlement class based on survey data and the

proprietary database of consumer information Signal maintains. This database,

which contains consumer information on 201.6 million individuals, is derived

from the same sources used by Equifax, such as credit card companies, banks, and

real estate transactions.

      14.     From July 29th to August 1st, 2019, Signal convened ten focus groups

comprised of a representative cross-section of the class across the country. Each

group lasted approximately two hours, was professionally moderated, and

consisted of approximately eight participants. These focus groups allowed Signal

to understand potential class members' level of relevant knowledge, awareness,

and interest; and which of the forms of notice approved by the Court are most

effective. Focus group participants were asked questions about their awareness of

the data breach. They were also shown the Court-approved email subject lines

and digital advertisements to get a better sense of what they are most likely to

respond to.

      15.     From July 30th to August 4th, 2019, Signal conducted a statistically

significant survey of 1,600 class members that provides further information about



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the potential class members. This survey supported an assessment of what media

sources are most effective across various demographics to reach putative class

members, and which subject lines are most effective in causing class members to

open the emails. In addition, the survey allowed us to further test which ads

worked and created ad scores for consumers by demographic. We applied these

learnings to our digital campaigns.

      16.    From July 23rd to August 4th, 2019, Signal conducted early consumer

testing of the Court-approved notice ads on social media platforms. Based on the

empirical results of those tests, Signal effectively optimized the variables with the

various forms and channels of notice. Specifically, buying options were adjusted

to maximize the reach of the digital advertising campaigns across all audiences;

specific ads were delivered to the demographic groups in which they performed

best; and adjustments were made to prioritize ad delivery among people in certain

age ranges most likely to engage.

      17.    In accordance with the Court’s Order, Signal only tested and

published the ads, email subject lines, and content of the emails that were attached

as exhibits to the Notice Plan approved by the Court.




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         18.   Throughout the Notice Program, Signal also tested the effectiveness

of video ads, as per the scripts attached to the approved Notice Plan. Video ads

were delivered on social media sites. Examples can be seen in Appendix 2.

                                     Email Notice

         19.   Pursuant to its Court-ordered Notice Plan, in conjunction with JND,

at least four email notices are to be sent to the class.

         20.   In accordance with the Notice Plan, Signal tested different subject

lines for each of the four proposed emails. The email subject lines that were most

likely to encourage likely class members to learn more about the class action

lawsuit made explicit reference to the Equifax data breach settlement and

addressed the reader directly with reference to “your benefits” or language

indicating “you may be eligible” for benefits. Subject lines with a list of available

benefits, including cash and free credit monitoring, performed well. The results of

that testing determined the subject lines that were used in the email sent to the

class.

         21.   Signal provided the results of our research to JND for use in

connection with the emails that it sent. I understand that JND will provide a

separate declaration to the Court describing the email notice program, including

manner in which the email notice was provided and the reach of and response to


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those emails. I also understand that JND will describe the settlement website that

it administered and its use by and impact on the class. And, I understand that JND

will discuss the impressive number of claims that have been filed.

                       Digital Notice as of the Notice Date

      22.    In accordance with the approved Notice Plan, Signal administered

extensive digital advertising, designed to reach 90 percent of the settlement class

an average of 8 times before the Notice Date. This target was successfully

achieved. Only ads that were approved by the Court (See Doc. # 739-2) were

tested or published, and approved ads were translated into Spanish for delivery to

Spanish-speaking audiences on Facebook and Twitter. Each of the ads linked to

the settlement website, affording class members easy access to information about

the settlement and the opportunity to submit claims online.

      23.    Signal administered digital advertising via social media (Facebook,

Instagram, and Twitter), paid online search (Google, Bing, and Yahoo), and paid

online display advertising (via Google Display Network). Examples of the ads as

they appeared on the platforms are in Appendix 2.

      24.    Signal achieved 1.12 billion digital impressions on or before the

Notice Date – 458 million impressions on Facebook and related platforms with a

reach of 142 million people; 103 million impressions on Twitter with a reach of


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10 million people; 624,000 paid search impressions; and 566 million impressions

from display advertising with a reach of 139 million people. This surpassed our

target of 892 million impressions. As per the Notice Plan, Signal iteratively

determined the best targeting strategies and platforms and optimized digital

advertising campaigns accordingly. As a result, the distribution of impressions

among platforms differed slightly from stated targets in the Notice Plan, but

exceeded the target goal by over 10%.

      25.    During the remainder of the Initial Claims Period, the target is to

create an additional 332 million impressions – 133 million on Facebook and

related platforms, 106 million impressions on Twitter, and 93 million impressions

on display advertising. Accordingly, the targeted total impressions during the

Initial Claims Period will exceed 1.4 billion. The placement of specific advertising

and the platforms used during this period may be adjusted to optimize notice

efforts and claims rates.

                  Paid Publication Notice as of the Notice Date

      26.    In accordance with the Notice Plan and Order of the Court, Signal

placed a full-page advertisement in USA Today on September 6th, 2019. A sample

of the print advertisement is attached as Appendix 1.




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      27.    In accordance with the Notice Plan and Order of the Court, Signal

executed a radio advertising campaign prior to the Notice Date. This radio

program began on August 19th and concluded September 8th, 2019, achieving a

national reach that included all 210 designated market areas. We specifically

targeted those over 55 years old after learning from testing that we were having

the most difficulty reaching them online. We had 194,797,100 impressions overall

and 63,636,800 impressions for the target age group.

      28.    The radio program was professionally planned and executed and

vetted by the FTC.

                                    Conclusion

      29.    The Notice Plan has effectively reached the settlement class;

increased class members' awareness of the settlement, their options, and the

benefits available to them; delivered the best notice practical under the

circumstances; and thus satisfied due process and the requirements of Rule 23.

      30.    The digital portion of Notice Plan alone resulted in 1.12 billion

impressions before the Notice Date, which exceeds the target, represents a 90

percent reach, and satisfies the Federal Judicial Center’s guidelines providing that

a reasonable notice program should reach between 70 and 90 percent of the class.




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      31.    By taking advantage of modern techniques in commercial and

political advertising as we have proposed and continuing to provide notice for a

period of more than seven years, the Notice Plan clearly substantially improved

upon the notice programs that are customarily used in major class actions

settlements. It is my continued goal that this Notice Plan may set the standard for

future class action settlements and, in so doing, contribute to improving the

effectiveness of notice programs and increasing claims rates in other cases.

      32.    I declare under penalty of perjury, under the laws of the United States

of America, that the foregoing is true and correct.


                                            Signed on December 4, 2019 in New
                                         York, NY:




                                                        Jim Messina




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              Appendix 1




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USA Today




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              Appendix 2




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Search Ad Examples
Google:




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Bing:




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Yahoo:




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Twitter Ad Examples




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Display Ad Examples




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Facebook Ad Examples




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Video Ad Examples




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Instagram Ad Examples




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